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United States District Court

Southern District of Florida
FT. PIERCE DIVISION

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. Case Number: 113C 2:07-14030(s)-02

LEON D. CLARKE
USM Number: 72777-004

Counsel For Defendant: Edward D. Reagan, Esq.
Counsel For The United States: Corey Steinberg, AUSA
Court Reporter: Vicki Aiello

 

The defendant pleaded guilty to Count(s) 1, 2, 3, 9, 10, 13, 14 and 15 of the Indictment.
The defendant is adjudicated guilty of the following offense(s):

TITLE/SECTION NATURE OF
NUMBER OFFENSE OFFENSE ENDED COUNT

18:1951 Conspiracy to commit February 4, 2007 1
interference with
commerce by violence

18:1951 Conspiracy to commit February 4, 2007 2
interference with
commerce by violence

18:924(c)(1)(a) Brandishing a firearm February 4, 2007 3
during a crime of
violence

18:371 Conspiracy to take a February 4, 2007 9
motor vehicle by force

18:2119 Taking a motor vehicle February 4, 2007 10
by force

18:2119 Taking a motor vehicle February 4, 2007 13
by force

18:2119 Taking a motor vehicle February 4, 2007 14
by force

18:924(c)(1)(a) Brandishing a firearm February 4, 2007 15
during a crime of
violence

The defendant is sentenced as provided in the following pages ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

Count(s) Number Five and Eleven are dismissed on the motion of the United States.
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DEFENDANT: LEON D. CLARKE
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It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material changes in economic circumstances.

Date of Imposition of Sentence:
9/5/2007

. MICHAEL MOORE
United States District Judge

September ) 7 4 5007
 

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DEFENDANT: LEON D. CLARKE
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a term of 356 Months. This term consists of 151 Months as to each of Counts 1, 2, 10, 13 and 14, to be served
concurrently with each other; 60 Months as to Count 9, to be served concurrently with Counts 1, 2, 10, 13 and 14; 84
Months as to Count 3, to mn consecutively with Counts 1, 2, 9, 10, 13 and 14; and 121 Months as to Count 15 to run
consecutively to each of Counts 1, 2, 3, 9, 10, 13 and 14.

The Court makes the following recommendations to the Bureau of Prisons:

Confinement in the Southern District of Florida, to be near family; participation in the 500 hour
intensive substance abuse treatment program, if and when eligible

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal
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DEFENDANT: LEON D. CLARKE
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for aterm of 5 years. This
term consists of 3 years as to Counts 1, 2, 9, 10, 13 and 14 and 5 years as to Counts 3 and 15, each such term to run
concurrently.

The defendant shall report to the probation officein the district to which the defendant is released within 72
hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer,

2 The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete written report within the first five days of each month,

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment,

7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered,

9. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted ofa felony unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
enforcement officer,

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: LEON D. CLARKE
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

At the completion of the defendant’s term of imprisonment, the defendant shall be surrendered to the custody of the
U.S. Immigration and Customs Enforcement for removal proceedings consistent with the Immigration and Nationality
Act.

If removed, the defendant shall not reenter the United States without the prior written permission of the
Undersecretary for Border and Transportation Security. The term of supervised release shall be non-reporting while
the defendant is residing outside the United States. If the defendant reenters the United States within the term of
supervised release, the defendant is to report to the nearest U.S. Probation Office within 72 hours of the defendant’s
arrival.

The defendant shall participate in an approved treatment program for anger control/domestic violence.
Participation may include inpatient/outpatient treatment. The defendant will contribute to the costs of services
rendered (co-payment) based on ability to pay or availability of third party payment.

The defendant shall participate in an approved treatment program formental health/substance abuseand abide
by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment. The defendant
will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party
payment.

The defendant shall provide complete access to financial information, including disclosure ofall business and
personal finances, to the U.S. Probation Officer.

The defendant shall not apply for, solicit, or incur any further debt, included but not limited to loans or lines
ofcredit, either as a principal, co-signer or guarantor, as directly or through any related entity or organization, without
first obtaining permission from the Court.

The defendant shall maintain full-time, legitimate employment and not beunemployed for aterm ofmore than
30 days unless excused for schooling, training or other acceptable reasons. Further, the defendant shall provide
documentation including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earnings Statements,
and other documentation requested by the U.S. Probation Officer.

The defendant shall submit to a search of his/her person or property conducted in a reasonable manner and
at a reasonable time by the U.S. Probation Officer.
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DEFENDANT: LEON D. CLARKE
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

Total Assessment Total Fine Total Restitution

$800.00 $ $10,872.38

Restitution with Imprisonment -

It is further ordered that the defendant shall pay restitution in the amount of $ 10,872.38. During the period of
incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries
(UNICOR) job, then the defendant must pay 50% of wages earned toward the financial obligations imposed by this
Judgment in a Criminal Case; (2) ifthe defendant doesnot work in a UNICOR job, then the defendant must pay $25.00
per quarter toward the financial obligations imposed in this order.

Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings, until
such time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S.
Probation Office and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court any
material change in the defendant’s ability to pay. These payments do not preclude the government from using other
assets or income of the defendant to satisfy the restitution obligations.

*Findingsfor the total amountoflossesare requiredunder Chapters 109A, 110, 110A, and 113A of Title 18, UnitedStates Code, for offensescommitted
on or after September 13, 1994, but before April 23, 1996. .
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A. Lump sum payment of $800.00 due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments madethrough
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any crimimal monetary penalties imposed.

The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed
to:

U.S. CLERK’S OFFICE

ATTN: FINANCIAL SECTION

301 N. MIAMI AVENUE, ROOM 150
MIAMI, FLORIDA 33128

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney’s Office are responsible for the enforcement of this order.

Joint and Several
Defendant Name, Case Number, and Joint and Several Amount:

Defendant Kurt D. Anderson
2:05CR14030-01
$2,127.38

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and
court costs.
